Case 1:21-cv-01594-GBW Document 105 Filed 09/20/22 Page 1 of 7 PageID #: 1998




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

JAZZ PHARMACEUTICALS, INC.,     )
                                )
               Plaintiff,       )
                                )
       v.                       )             C.A. No. 21-691 (GBW)
                                )
AVADEL CNS PHARMACEUTICALS LLC, )
                                )
               Defendant.       )

JAZZ PHARMACEUTICALS, INC. and  )
JAZZ PHARMACEUTICALS IRELAND    )
LIMITED,                        )
                                )
               Plaintiffs,      )
                                )
       v.                       )             C.A. No. 21-1138 (GBW)
                                )
AVADEL CNS PHARMACEUTICALS LLC, )
                                )
               Defendant.       )

JAZZ PHARMACEUTICALS, INC. and  )
JAZZ PHARMACEUTICALS IRELAND    )
LIMITED,                        )
                                )
               Plaintiffs,      )
                                )
       v.                       )             C.A. No. 21-1594 (GBW)
                                )
AVADEL CNS PHARMACEUTICALS LLC, )
                                )
               Defendant.       )

       JAZZ’S MOTION TO STRIKE AVADEL’S SECOND SUPPLEMENTAL
                  RESPONSE TO INTERROGATORY NO. 8

      Plaintiffs Jazz Pharmaceuticals, Inc. and Jazz Pharmaceuticals Ireland Limited

(collectively, “Jazz”) hereby move to strike Defendant Avadel CNS Pharmaceuticals LLC’s
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second supplemental response to Interrogatory No. 8. The basis for this motion is set forth in

Jazz’s letter brief and supporting papers filed herewith.



                                                  MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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September 20, 2022




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                                 RULE 7.1.1 CERTIFCATE

       I hereby certify that counsel for the parties, including lead and Delaware counsel,

discussed the subject of the foregoing motion and were unable to reach agreement.


                                                   /s/ Jeremy A. Tigan

                                                   Jeremy A. Tigan (#5239)
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

JAZZ PHARMACEUTICALS, INC.,     )
                                )
               Plaintiff,       )
                                )
       v.                       )              C.A. No. 21-691 (GBW)
                                )
AVADEL CNS PHARMACEUTICALS LLC, )
                                )
               Defendant.       )

JAZZ PHARMACEUTICALS, INC. and  )
JAZZ PHARMACEUTICALS IRELAND    )
LIMITED,                        )
                                )
               Plaintiffs,      )
                                )
       v.                       )              C.A. No. 21-1138 (GBW)
                                )
AVADEL CNS PHARMACEUTICALS LLC, )
                                )
               Defendant.       )

JAZZ PHARMACEUTICALS, INC. and  )
JAZZ PHARMACEUTICALS IRELAND    )
LIMITED,                        )
                                )
               Plaintiffs,      )
                                )
       v.                       )              C.A. No. 21-1594 (GBW)
                                )
AVADEL CNS PHARMACEUTICALS LLC, )
                                )
               Defendant.       )

                                [PROPOSED] ORDER

      Having considered Jazz’s Motion to Strike, IT IS HEREBY ORDERED this ______

day of _____________________, 2022 that:

          1.    Plaintiffs’ Motion to Strike is GRANTED; and
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         2.    Defendant Avadel CNS Pharmaceuticals LLC’s second supplemental

               response to Interrogatory No. 8 is STRICKEN.



                                           United States District Judge




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2022, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

September 20, 2022, upon the following in the manner indicated:

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